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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

 Eric Brown, Jody Tuchtenhagen, and Debbie
 Schultz,
                                                   Case No. 0:20-cv-1127-SRN-ECW
                       Plaintiffs,
 v.

 American Federation of State, County, and
 Municipal Employees, Council No. 5,

                       Defendant.




 Mark Fellows, Alicia Bonner, and Catherine
 Wyatt,
                                                   Case No. 0:20-cv-1128-SRN-ECW
                       Plaintiffs,
 v.

 Minnesota Association of Professional
 Employees,

                       Defendant.


         This case is before the Court on the Joint Motion to Extend Deadline to Respond

to the Complaint, Enter Stipulated Briefing Schedule, and Stay Discovery and Class

Certification Motions (Dkt. 16 in Case No. 20-cv-1127 and Dkt. 14 in Case No.20-cv-

1128). Having considered Joint Motions, and for good cause shown, IT IS ORDERED

that:

         1.    The time for Defendants to answer or otherwise respond to the Complaint is

extended to September 4, 2020.


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         2.   Defendants will file their respective Motions to Dismiss the Complaint no

later than September 4, 2020.

         3.   Plaintiffs will file their respective Responses to Defendants’ Motions to

Dismiss no later than October 9, 2020.

         4.   Defendants will file their respective Reply Briefs in support of their

Motions to Dismiss no later than October 23, 2020.

         5.   The hearing on both Motions to Dismiss will be on November 10, 2020, at

2 p.m.

         6.   Discovery and the filing of class certification motions is stayed pending

resolution of the Motions to Dismiss. The Parties will meet and confer and submit a

proposed schedule to the Court addressing the filing of class certification motions, class

discovery, merits discovery, and additional motions practice as to any claims that remain

after resolution of the Motions to Dismiss within 30 days of the Court’s ruling.



Dated: July 23, 2020                      s/Elizabeth Cowan Wright
                                          ELIZABETH COWAN WRIGHT
                                          United States Magistrate Judge




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